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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

CLIFFORD TUTTLE, et. al.
                                                          Case No. 4:21-cv-00270
Consolidated with

         JOHN NICHOLAS, et.al.

         Plaintiffs,
         v.

 CITY OF HOUSTON; ART ACEVEDO, et.
 al.

         Defendants.
                                                          (JURY DEMANDED)

        THE NICHOLAS AND TUTTLE PLAINTIFFS’ REPLY IN SUPPORT OF
   MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST DEFENDANTS
SEPOLIO, SALAZAR, WOOD, PARDO, MEDINA, REYNA, LOVINGS, ASHRAF, AND
                            GONZALES

        Despite Plaintiffs’ Motion for Partial Summary Judgment, to date, Defendants have still

not filed an answer or requested leave to file an answer. As confirmed by the Fifth Circuit L.A.

Pub. Ins. Adjusters, Inc. v. Nelson, 17 F.4th 521, 528 (5th Cir. 2021) – Plaintiffs are entitled to

summary judgment because Defendants have not contested the liability facts in their complaints.

   A.      Plaintiffs’ warrant conspiracy claim, along with the supervisory claim, are live
           and ripe for summary judgment.

        First, Despite Defendants’ argument, Plaintiffs’ conspiracy claims against the non-

Answering Defendants and the supervisory claim against Gonzales have not been adjudicated.

Plaintiffs do not have a claim based on § 1985, and it is not addressed here. Furthermore, contrary

to Defendants’ arguments, Plaintiffs were not required to file a default judgment. Instead,

Plaintiffs, like the counter-plaintiffs in L.A. Pub. Ins. Adjusters, Inc. v. Nelson, have filed for

summary judgment based on the Defendants’ failure to dispute their allegations.
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         To be clear, the Joint Stipulation of Dismissal1 of Plaintiffs’ excessive force claims did not

include conspiracy claim. In correspondence related to the parties’ stipulated dismissal, Plaintiffs’

counsel explicitly stated conspiracy claims remain. Defendants failed to answer Plaintiffs’ warrant

conspiracy claim or raise it in any motions to dismiss; and as such the warrant conspiracy claims

were not before the trial court pre-appeal2 or before the Fifth Circuit on appeal in both opinions.3

         Following that, the Court of Appeals could not – and did not – rule on Plaintiffs’ warrant

conspiracy claims because Defendants never raised them before this Court. Defendants

impermissibly ask the Court to infer the Fifth Circuit’s rulings dismissed Plaintiffs’ conspiracy

claims.4 The same is true for Defendants’ assertions of qualified immunity on Plaintiffs’ warrant

conspiracy claim because Defendants failed to place qualified immunity for conspiracy and

supervisory liability before the Court or the Court of Appeals at any point; therefore, Plaintiffs’

conspiracy claims and the supervisory claim are live.

    B.       Plaintiffs have sufficiently pleaded conspiracy claims under Section 1983.

         Next, Defendants conflate Section 1985 and a conspiracy claim under § 1983. The

Southern District of Texas has explained this as follows:

         As the Fifth Circuit has recognized, “[a]n action for conspiracy may be maintained
         under section 1983.” Ryland v. Shapiro, 708 F.2d 967, 974 (5th Cir. 1983)
         (reversing dismissal of § 1983 conspiracy claim). This claim is distinct from a
         conspiracy claim under § 1985. See id. A conspiracy under § 1983 requires “(1) the
         existence of a conspiracy involving state action, and (2) a deprivation of civil rights
         in furtherance of the conspiracy by a party to the conspiracy.” Pfannstiel v. City of
         Marion, 918 F.2d 1178, 1187 (5th Cir. 1990), abrogated on other grounds
         by Martin v. Thomas, 973 F.2d 449 (5th Cir. 1992); see also Shaw v. Villanueva,
         918 F.3d 414, 419 (5th Cir. 2019) (same requirements). Moreover, such a claim can
         be brought against an official who allegedly conspired with a private party—not
         just the private party itself. See, e.g., Morales v. Carrillo, 625 F. Supp. 3d 587, 598,
         608 (W.D. Tex. 2022) (denying motion for summary judgment on § 1983

1
  Doc. No. 324 at 4.
2
  Doc No. 229; no reference to “conspiracy” or “conspire.”
3
  Doc. Nos. 233, 236; no reference to “conspiracy” or “conspire.”
4
  See Doc. No. 324 at 13-16.


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        conspiracy claim against officer who allegedly conspired with private parties to
        bring false charges against the plaintiff).5

        Following that, “to prove a conspiracy under § 1983, a plaintiff must allege facts that

indicate (1) there was an agreement among individuals to commit a deprivation, and (2) that an

actual deprivation occurred. A conspiracy allegation under § 1983 allows a plaintiff to “impose

liability on all of the defendants without regard to who committed the particular act. [Plaintiffs’]

conspiracy claim need not have met a probability requirement at the pleading stage; plausibility

simply calls for enough facts to raise a reasonable expectation that discovery will reveal evidence

of illegal agreement.” 6

        Plaintiffs have pleaded this precise conduct, and Defendants’ have failed to dispute those

assertions in an answer. Nicholas Plaintiffs pleaded the following:

        In addition, Defendants had a long-standing agreement and plan to obtain illegal
        search warrants, via perjury and through misuse of confidential informants.
        Specifically, as part of this agreement, Squad 15, Lt. Todd, and Lt. Gonzales, agreed
        and knew that member[s] of Squad 15, including Goines, would obtain illegal
        search warrants in violation of the Fourth and Fourteenth Amendments. Each
        member[] of the conspiracy agreed to the plan and intended to further its purpose.
        In addition, Squad 15 also financially profited from the illegal raids because each
        member billed thousands of dollars each year in overtime in executing the illegal
        raids. As a result of this scheme, Defendants violated Nicholas’s constitutional
        rights.7
                 ...
        In addition, Defendants had a long-standing agreement and plan to obtain illegal
        search warrants, via perjury and through misuse of confidential informants.
        Specifically, as part of this agreement, Squad 15, Lt. Todd, and Lt. Gonzales, agreed
        and knew that member of Squad 15, including Goines, would obtain illegal search
        warrants in violation of the Fourth and Fourteenth Amendments. Each members
        of the conspiracy agreed to the plan and intended to further its purpose. In
        addition, Squad 15 also financially profited from the illegal raids because each
        member billed thousands of dollars each year in overtime in executing the illegal
        raids. As a result of this scheme, Defendants violated Nicholas’s constitutional
        rights.8

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  Lee v. Brokenberry, No. 4:23-cv-01470, 2023 U.S. Dist. LEXIS 170052, at *12 (S.D. Tex. Sep. 25, 2023)
6
  Jabary v. City of Allen, 547 F. App'x 600, 610 (5th Cir. 2013) (cleaned up).
7
  Doc. 49 at par 160.
8
  Doc. 49 at par. 160.


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The Tuttle Plaintiffs pleaded:

        On January 28, 2019, while acting under color of Texas law, all individually named
        Defendants deprived and conspired to deprive Dennis of his rights under the Fourth
        Amendment as incorporated and applied to the states through the Fourteenth
        Amendment by using excessive and deadly force during the execution of the no-
        knock search warrant at 7815 Harding Street. 9
               ...
        On January 28, 2019, while acting under color of Texas law, all individually named
        Defendants deprived and conspired to deprive Dennis of his rights under the Fourth
        Amendment as incorporated and applied to the states through the Fourteenth
        Amendment by using excessive and deadly force during the execution of the no-
        knock search warrant at 7815 Harding Street.10
As a result, Plaintiff is entitled to summary judgment.

   C.         There was no stay of proceedings that would have relieved Defendants’ obligation
              to answer after the Court entered its amended scheduling order.

        Defendants argue the Court’s Order issued on August 9, 2021, permanently relieved them

of answering Plaintiffs’ warrant conspiracy claim. This is simply not the case. The Court’s order

related to pleading the Fifth Amendment, while their motion to dismiss was pending. The Court

denied those motions, and the Fifth Circuit addressed those claims. The purpose of that ruling was

because the Court denied the initial 12(b)(6) without prejudice. The Court, based on the Fifth

Circuit’s ruling, withdrew that order and addressed the merits of the 12(b)(6) motions. Therefore,

Defendants were required to file an answer consistent with the Rule.

        Furthermore, Defendants have now, for the first time, asserted qualified immunity based

on Plaintiffs’ conspiracy claims – yet Defendants have never, in any pleading, disclosed that

defense for this claim. As a result, Plaintiffs should be entitled to summary judgment.




        9
            Doc. 49. at 97.
        10
            Doc. 49. at 112.


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                                          CONCLUSION

       For these reasons, Plaintiffs ask that the Court grant their summary judgment finding the

failure to answer makes Defendants and Gonzales liable for the § 1983 warrant conspiracy and

supervisory claims, respectively.



                  /s/ Michael Doyle                                 /s/ Boyd Smith

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                                      CERTIFICATE OF SERVICE
                I, the undersigned attorney, do hereby certify that a true and correct copy of the
foregoing document was forwarded to the following counsel of record on this the 13th day of
September, 2024 via CM/ECF, hand delivery, electronic mail, overnight courier, U.S. Mail,
certified mail, return receipt request, or facsimile, pursuant to the Federal Rules of Civil Procedure.


       /s/ Jeffrey I. Avery
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